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5 || Telephone: 313} 239-9800
Facsimile: (13) 239-9045
6
Attorneys for Defendants
71 ROYAL BANK OF CANADA, RBC CAPITAL MARKETS
CORPORATION (incorrectly named and sued as “RBC WEALTH
8 | MANAGEMENT COMPANY, formerly RBC DAIN RAUSCHER,
INC.”), and THE ROYAL BANK OF CANADA US WEALTH
9 | ACCUMULATION PLAN
10
il UNITED STATES DISTRICT COURT
12 CENTRAL DISTRICT OF CALIFORNIA
13
STEVEN BENHAYON, Case No. CV08-06090 FMC(AGRx)
14
Plaintiff, DECLARATION OF GABRIELA
15 SIKICH IN SUPPORT OF |
ve DEFENDANTS’ MOTION FOR
16 JUDGMENT AS A MATTER OF
ROYAL BANK OF CANADA,.a LAW ON PLAINTIFF’S CLAIM
17 | Canadian company, business form FOR BENEFITS UNDER THE
unknown; RB ALTH ROYAL BANK OF CANADA US
18 || MANAGEMENT COMPANY, formerly | WEALTH ACCUMULATION
RBC DAIN RAUSCHER, INC, __ PLAN
19] business form unknown; THE ROYAL
BANK OF CANADA US WEALTH
20 || ACCUMULATION PLAN, former! DJ: Florence-Marie Cooper
known as RBC Dain Rauscher Wealth Courtroom: (Roybal) 750
211) Accumulation Plan; and, DOES 1 MI: Alicia G. Rosenberg
5 through 20, Courtroom: (Spring) 23
2 |
33 Defendants. Trial Date: February 16, 2010
24
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28
nsasaunes O6t CASE NO. CV08-06090 FMC(AGR3)
EEREE Biel of DECLARATION OF GABRIELA SIKICH

 

 
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DECLARATION OF GABRIELA SIKICH

GABRIELA SIKICH declares:

1. Tam the US Defined Contribution Plan Manager for RBC Capital
Markets Corporation, a defendant in this action. My duties include maintaining the
official records of the Royal Bank of Canada U.S. Wealth Accumulation Plan (the
“WAP”) including (i) the documents governing the WAP, (ii) the documents
recording the proceedings of the RBC USA Wealth Accumulation Plan Committee

(the “WAP Committee”), (iii) the administrative record of claims for benefits under

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the WAP, (iv) summaries of participant accounts and investments, and (v) all other

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documents setting forth the terms and conditions of participation in the WAP. Iam

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personally familiar with Steven Benhayon’s claim for benefits under the WAP

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following the termination of his employment with RBC Dain Rauscher, Inc. and the

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administration of that claim. The facts stated in this declaration are true of my own

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knowledge or my review of the business records of the Royal Bank of Canada and/or

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its subsidiaries. If called as a witness, I could and would competently testify as to

the truthfulness of the facts contained herein.

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2. Attached hereto as Exhibit A is a true copy of a letter from Kari M.

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Myron, attorney for Steven Benhayon, dated November 9, 2007. This letter was the

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first written notice received by the WAP that Mr, Benhayon was requesting

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acclerated vesting of his benefits under the WAP.

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3. Attached hereto as Exhibit B is a true copy of a letter from Kari M.

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Myron, attorney for Steven Benhayon, dated November 12, 2007 and entitled

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“Request for Accelerated Vesting.”

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4. Attached hereto as Exhibit C is a true copy of a letter from Mr. Todd

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Schnell, Senior Associate General Counse! for RBC Dain Rauscher, Inc., to Ms. Kari
M. Myron, dated November 15, 2007.

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5. Attached hereto as Exhibit D is a true copy of a letter from Mr. Todd

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Schnell, Senior Associate General Counsel for RBC Dain Rauscher, Inc., to Ms. Kari

 

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1 CASE NO. CV08-06090 FMC(AGRx)
| DECLARATION OF GABRIELA SIKICH

 
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M. Myron, dated December 11, 2007 and notifying her of the decision by the WAP
Committee to deny Mr. Benhayon’s claim for benefits under the WAP. The WAP
Committee is the committee established pursuant to section 7.1 of the Amended and
Restated Royal Bank of Canada U.S. Wealth Accumulation Plan and Prospectus
which administers the WAP, as provided in that section.

6. Attached hereto as Exhibit E is a true copy ofa letter from Kari M.
Myron, attorney for Steven Benhayon, dated February 6, 2008 and entitled “Request

for Reconsideration of Denial of Accelerated Vesting and Distribution.” Exhibit E

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was the first and only written notice received by the WAP that Mr. Benhayon was

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requesting a further review of his denied claim for benefits under the WAP.

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7. Attached hereto as Exhibit F is a true copy of a letter from Mr. Todd

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Schnell, Senior Associate General Counsel for RBC Dain Rauscher, Inc., to Ms. Kari
M. Myron, dated April 9, 2008 and notifying her of the WAP Committee’s decision

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to affirm its initial denial of Mr. Benhayon’s claim for benefits under the WAP.

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8. Attached hereto as Exhibit G is a true copy of Amended and Restated

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Royal Bank of Canada U.S. Wealth Accumulation Plan and Prospectus, dated
November 1, 2007. _

9. Attached hereto as Exhibit H is a true copy of Amended and Restated
Royal Bank of Canada U.S. Wealth Accumulation Plan and Prospectus, dated

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November 1, 2006, Exhibits G and H are the versions of the WAP pian document

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which were in effect at the time Mr. Benhayon’s claim for benefits and request for

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further review of that claim were presented to the WAP Committee.

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10. Attached hereto as Exhibit I is a true copy of the Retirement Savings

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Statement for Steven Benhayon’s account under the WAP covering the period from
January 1, 2007 to December 31, 2007.

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11. Attached hereto as Exhibit J is a true copy of the Retirement Savings

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Statement for Steven Benhayon’s account under the WAP covering the period from

January 1, 2008 to December 31, 2008.

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ETREE - feel of DECLARATION OF GABRIELA SIKICH

 

 
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12. Attached hereto as Exhibit K is a redacted copy of the agenda and
attachments thereto for the meeting of the WAP Committee held on December 7,
2007. This is the meeting at which the WAP Committee considered Mr. Benhayon’s
claim for benefits under the WAP, as presented in the letters from his attorney dated
November 9, 2007 and November 12, 2007. Exhibit K contains a true and complete
copy of all excerpts of the agenda and attachments thereto for this meeting which
pertain to Mr. Benhayon’s claim for benefits under the WAP.

13. Attached hereto as Exhibit L is a redacted copy of the minutes of the

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meeting of the WAP Committee held on December 7, 2007. This is the meeting at

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which the WAP Committee considered Mr. Benhayon’s claim for benefits under the

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WAP, as presented in the letters from his attorney dated November 9, 2007 and

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November 12, 2007. Exhibit L contains a true and complete copy of all excerpts of

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the minutes of this meeting which pertain to Mr. Benhayon’s claim for benefits
under the WAP.

14. Attached hereto as Exhibit M is a redacted copy of the agenda and
attachments thereto for the meeting of the WAP Committee held on April 7, 2008.

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This is the meeting at which the WAP Committee reviewed Mr. Benhayon’s request

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for review of his denied claim for benefits under the WAP, as requested in the letter

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| from his attorney dated February 6, 2008. Exhibit M contains a true and complete

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copy of all excerpts of the agenda and attachments thereto for this meeting which

214 pertain to Mr. Benhayon’s claim for benefits under the WAP.

22 15. Attached hereto as Exhibit N is a redacted copy of the minutes of the
23 | meeting of the WAP Committee held on April 7, 2008. This is the meeting at which
24]| the WAP Committee reviewed Mr. Benhayon’s request for review of his denied

25 || claim for benefits under the WAP, as requested in the letter from his attorney dated
26|| February 6, 2008. Exhibit N contains a true and complete copy of all excerpts of the
27] minutes of this meeting which pertain to Mr. Benhayon’s claim for benefits under

28] the WAP.

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16. Exhibits A through N collectively include all documents which (i) were
considered or relied upon in the administration of Steven Benhayon’s claim for
benefits under the WAP following the termination of his employment with RBC
Dain Rauscher, Inc., or (ii) document the deliberations of the WAP Committee
concerning that claim. As such, they represent the administrative record his claim
for benefits under the WAP following the termination of his employment with RBC
Dain Rauscher, Inc.

17. Attached hereto as Exhibit O are true copies of the Summary of Plan

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Provisions for RBC Dain Rauscher, Inc. employees in the business unit to which

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Steven Benhayon was assigned for the years 2003 through 2006.

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18. Attached hereto as Exhibit P is a true copy of a statement pursuant to
Department of Labor Regulation 2520.104-23 which was filed with the United States

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Department of Labor on behalf of the Dain Rauscher Wealth Accumulation Plan on

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or about March 13, 2001. The Dain Rauscher Wealth Accumulation Plan was

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subsequently re-named the Royal Bank of Canada U.S. Wealth Accumulation Plan.

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I declare under penalty of perjury under the laws of the United States of

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America that the foregoing is true and correct.

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NO

Executed this day of July 2009 at Minneapolis, Minnesota.

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Gabriela Sikich

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